Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Jason                                                           Jenifer
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        Matthew                                                         Marie
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Scharsch                                                        Scharsch
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
                                                                                                   Jenifer Mansfield
     assumed, trade names and
     doing business as names.                                                                      FDBA Bounds Performance Inc
                                                                                                   FDBA Bounds Unlimited Inc
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-1013                                                     xxx-xx-8708
     Individual Taxpayer
     Identification number
     (ITIN)




               Case 3:23-bk-02817                  Doc 1        Filed 08/07/23 Entered 08/07/23 13:42:58                               Desc Main
Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
                                                                Document     Page 1 of 77
Debtor 1   Jason Matthew Scharsch
Debtor 2   Jenifer Marie Scharsch                                                                    Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 9665 Franklin Road
                                 Murfreesboro, TN 37128
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Rutherford
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




              Case 3:23-bk-02817                Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                              Desc Main
Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
                                                            Document     Page 2 of 77
Debtor 1    Jason Matthew Scharsch
Debtor 2    Jenifer Marie Scharsch                                                                        Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




              Case 3:23-bk-02817                 Doc 1        Filed 08/07/23 Entered 08/07/23 13:42:58                                Desc Main
Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                                              Document     Page 3 of 77
Debtor 1    Jason Matthew Scharsch
Debtor 2    Jenifer Marie Scharsch                                                                         Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




              Case 3:23-bk-02817                 Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                             Desc Main
Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
                                                               Document     Page 4 of 77
Debtor 1    Jason Matthew Scharsch
Debtor 2    Jenifer Marie Scharsch                                                                     Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




              Case 3:23-bk-02817                   Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                             Desc Main
Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                                                               Document     Page 5 of 77
Debtor 1    Jason Matthew Scharsch
Debtor 2    Jenifer Marie Scharsch                                                                        Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Jason Matthew Scharsch                                        /s/ Jenifer Marie Scharsch
                                 Jason Matthew Scharsch                                            Jenifer Marie Scharsch
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     August 7, 2023                                    Executed on     August 7, 2023
                                                 MM / DD / YYYY                                                    MM / DD / YYYY



              Case 3:23-bk-02817                Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                                     Desc Main
Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                                                            Document     Page 6 of 77
Debtor 1   Jason Matthew Scharsch
Debtor 2   Jenifer Marie Scharsch                                                                         Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Galen W. Pierce                                                Date         August 7, 2023
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Galen W. Pierce
                                Printed name

                                The Law Office of Galen Pierce
                                Firm name

                                307 Hickerson Drive
                                Murfreesboro, TN 37129
                                Number, Street, City, State & ZIP Code

                                Contact phone     615-895-6508                               Email address         galen@galenpiercelaw.com
                                023832 TN
                                Bar number & State




              Case 3:23-bk-02817                  Doc 1          Filed 08/07/23 Entered 08/07/23 13:42:58                            Desc Main
Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                                                 Document     Page 7 of 77
 Fill in this information to identify your case:

 Debtor 1                   Jason Matthew Scharsch
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Jenifer Marie Scharsch
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             254,576.41

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             254,576.41

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             227,490.10

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             697,933.59


                                                                                                                                     Your total liabilities $               925,423.69


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                8,423.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                8,408.18

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
               Case 3:23-bk-02817                          Doc 1          Filed 08/07/23 Entered 08/07/23 13:42:58                                               Desc Main
                                                                          Document     Page 8 of 77
 Debtor 1      Jason Matthew Scharsch
 Debtor 2      Jenifer Marie Scharsch                                                     Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
            Case 3:23-bk-02817                        Doc 1          Filed 08/07/23 Entered 08/07/23 13:42:58                     Desc Main
                                                                     Document     Page 9 of 77
Fill in this information to identify your case and this filing:

Debtor 1                    Jason Matthew Scharsch
                            First Name               Middle Name                    Last Name

Debtor 2                    Jenifer Marie Scharsch
(Spouse, if filing)         First Name               Middle Name                    Last Name


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF TENNESSEE

Case number                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       GMC                               Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Sierra Truck                         Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2015                                 Debtor 2 only
                                                                                                                  Current value of the      Current value of the
          Approximate mileage:           107.005           Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         VIN No.: 3GTU2VEJ9FG343971
                                                           Check if this is community property                            $20,000.00                  $20,000.00
                                                            (see instructions)



  3.2     Make:       Nissan                            Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Altima                               Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2020                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:            43492            Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         VIN No.: 1N4BL4FV0LC119489
                                                           Check if this is community property                            $23,000.00                  $23,000.00
                                                            (see instructions)




Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1


              Case 3:23-bk-02817                Doc 1        Filed 08/07/23 Entered 08/07/23 13:42:58                                    Desc Main
                                                            Document      Page 10 of 77
Debtor 1       Jason Matthew Scharsch
Debtor 2       Jenifer Marie Scharsch                                                                              Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     No
     Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>          $43,000.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                   Couche, Love Seat, Coffee Table, 2 End Tables, Entertainment
                                   Center, 5 Beds, 5 Dressers, 2 Chest of Drawers, 6 Night Stands,
                                   Linens, 2 Washers, 2 Dryers, 2 Refrigerators, Microwave, Stove,
                                   Dishwasher, Freezer, 2 Dining Room tables and 12 Chairs, 1
                                   Chaine Cabinet, Buffet, 2 Curio Cabinet, Disahware/Flatware,
                                   Cookware, 2 Patio Furniture Sets                                                                                        $4,875.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                   3 TV's, Stereo, Dvd Player, 2 Computers, Printer, 2 Video Game
                                   Systems, 2 Cell Phones                                                                                                  $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

                                   Shotgun, Handgun                                                                                                          $300.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

Official Form 106A/B                                                  Schedule A/B: Property                                                                    page 2


           Case 3:23-bk-02817                       Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                                     Desc Main
                                                                 Document      Page 11 of 77
Debtor 1        Jason Matthew Scharsch
Debtor 2        Jenifer Marie Scharsch                                                                                      Case number (if known)


                                          Clothing                                                                                                                 $600.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          Wedding Band, Watch, Man's Ring, Wedding Set, 6 Rings,
                                          Necklace, Bracelet                                                                                                     $3,200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                                          Dog                                                                                                                      $200.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
      Yes. Give specific information.....

                                          Weed Water, Hand Tools                                                                                                   $250.00


                                          3 Desk, 5 Chairs, 2 Computers, Shelve                                                                                    $250.00


                                          C Pap                                                                                                                     $30.00


                                          Grandfather Clock, Push Mower
                                          (no longer has 2 trailers 1 for $600.00 the other $1,100.00, used to
                                          live on)                                                                                                                 $400.00


                                          3 TV's, Couch, End Table
                                          (Trailer was sold, same trailer that was used on wife's personal
                                          property list with her loan with Citizens Savings and Loans. They
                                          used this money to live on.)                                                                                             $650.00



15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                       $11,755.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               Cash                                $142.00

Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 3


           Case 3:23-bk-02817                                    Doc 1             Filed 08/07/23 Entered 08/07/23 13:42:58                          Desc Main
                                                                                  Document      Page 12 of 77
Debtor 1        Jason Matthew Scharsch
Debtor 2        Jenifer Marie Scharsch                                                                      Case number (if known)


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                        17.1.   Checking                  Chime                                                                  $460.88


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                Edwards Jones
                                                Mutual Fund                                                                                     $1,100.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                             % of ownership:

                                          Tri Star Meat

                                          All machines and equipment are owned by the
                                          lessor of the property. It is a turn-key business
                                          lease. Value is in the lease and goodwill.                              100%         %                $5,000.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                            Institution name:

                                        TCRS                              Rutherford County Schools Retirement                                $113,996.53


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

Official Form 106A/B                                                 Schedule A/B: Property                                                         page 4


           Case 3:23-bk-02817                        Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                               Desc Main
                                                                Document      Page 13 of 77
Debtor 1      Jason Matthew Scharsch
Debtor 2      Jenifer Marie Scharsch                                                                 Case number (if known)

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                2021 Tax Refund
                                                    The IRS has debt/liens                                 Federal                              $23,610.00


                                                2022 Tax Refund
                                                    The IRS has debt/liens                                 Federal                                $6,312.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........


Official Form 106A/B                                          Schedule A/B: Property                                                                    page 5


           Case 3:23-bk-02817                 Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                                 Desc Main
                                                         Document      Page 14 of 77
Debtor 1         Jason Matthew Scharsch
Debtor 2         Jenifer Marie Scharsch                                                                                                Case number (if known)


                                                            Larry Cox (et. al)vs Jason Matthew Scharsch (et.al)
                                                            2020-CV-77418
                                                            Interplead into State Court                                                                                    $49,200.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................             $199,821.41


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                    $0.00
56. Part 2: Total vehicles, line 5                                                                          $43,000.00
57. Part 3: Total personal and household items, line 15                                                     $11,755.00
58. Part 4: Total financial assets, line 36                                                                $199,821.41
59. Part 5: Total business-related property, line 45                                                             $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
61. Part 7: Total other property not listed, line 54                                             +               $0.00

62. Total personal property. Add lines 56 through 61...                                                    $254,576.41               Copy personal property total         $254,576.41

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $254,576.41




Official Form 106A/B                                                              Schedule A/B: Property                                                                         page 6


             Case 3:23-bk-02817                              Doc 1           Filed 08/07/23 Entered 08/07/23 13:42:58                                               Desc Main
                                                                            Document      Page 15 of 77
Fill in this information to identify your case:

Debtor 1               Jason Matthew Scharsch
                       First Name                    Middle Name                Last Name

Debtor 2               Jenifer Marie Scharsch
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        MIDDLE DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     Couche, Love Seat, Coffee Table, 2                        $4,875.00                                 $4,875.00     Tenn. Code Ann. § 26-2-103
     End Tables, Entertainment Center, 5
     Beds, 5 Dressers, 2 Chest of                                                  100% of fair market value, up to
     Drawers, 6 Night Stands, Linens, 2                                            any applicable statutory limit
     Washers, 2 Dryers, 2 Refrigerators,
     Microwave, Stove, Dishwasher,
     Freezer, 2 Dining Room tables and 12
     Chairs, 1 Chaine C
     Line from Schedule A/B: 6.1

     3 TV's, Stereo, Dvd Player, 2                             $1,000.00                                 $1,000.00     Tenn. Code Ann. § 26-2-103
     Computers, Printer, 2 Video Game
     Systems, 2 Cell Phones                                                        100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                   any applicable statutory limit

     Shotgun, Handgun                                              $300.00                                 $300.00     Tenn. Code Ann. § 26-2-103
     Line from Schedule A/B: 10.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Clothing                                                      $600.00                                    100%     Tenn. Code Ann. § 26-2-104
     Line from Schedule A/B: 11.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 3


              Case 3:23-bk-02817                Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                              Desc Main
                                                           Document      Page 16 of 77
Debtor 1   Jason Matthew Scharsch
Debtor 2   Jenifer Marie Scharsch                                                              Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Wedding Band, Watch, Man's Ring,                        $3,200.00                                  $3,200.00        Tenn. Code Ann. § 26-2-103
    Wedding Set, 6 Rings, Necklace,
    Bracelet                                                                     100% of fair market value, up to
    Line from Schedule A/B: 12.1                                                 any applicable statutory limit

    Dog                                                        $200.00                                   $200.00        Tenn. Code Ann. § 26-2-103
    Line from Schedule A/B: 13.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Weed Water, Hand Tools                                     $250.00                                   $250.00        Tenn. Code Ann. § 26-2-103
    Line from Schedule A/B: 14.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    3 Desk, 5 Chairs, 2 Computers,                             $250.00                                   $250.00        Tenn. Code Ann. § 26-2-111(4)
    Shelve
    Line from Schedule A/B: 14.2                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    C Pap                                                       $30.00                                    $30.00        Tenn. Code Ann. § 26-2-111(5)
    Line from Schedule A/B: 14.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Grandfather Clock, Push Mower                              $400.00                                   $400.00        Tenn. Code Ann. § 26-2-103
    (no longer has 2 trailers 1 for $600.00
    the other $1,100.00, used to live on)                                        100% of fair market value, up to
    Line from Schedule A/B: 14.4                                                 any applicable statutory limit

    3 TV's, Couch, End Table                                   $650.00                                   $650.00        Tenn. Code Ann. § 26-2-103
    (Trailer was sold, same trailer that
    was used on wife's personal                                                  100% of fair market value, up to
    property list with her loan with                                             any applicable statutory limit
    Citizens Savings and Loans. They
    used this money to live on.)
    Line from Schedule A/B: 14.5

    Checking: Chime                                            $460.88                                   $460.88        Tenn. Code Ann. § 26-2-103
    Line from Schedule A/B: 17.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Edwards Jones                                           $1,100.00                                  $1,100.00        Tenn. Code Ann. § 26-2-103
    Mutual Fund
    Line from Schedule A/B: 18.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Tri Star Meat                                           $5,000.00                                  $5,000.00        Tenn. Code Ann. § 26-2-103

    All machines and equipment are                                               100% of fair market value, up to
    owned by the lessor of the property.                                         any applicable statutory limit
    It is a turn-key business lease. Value
    is in the lease and goodwill.
    100%
    Line from Schedule A/B: 19.1



Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 3


           Case 3:23-bk-02817                  Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                  Desc Main
                                                        Document      Page 17 of 77
Debtor 1    Jason Matthew Scharsch
Debtor 2    Jenifer Marie Scharsch                                                             Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    TCRS: Rutherford County Schools                      $113,996.53                                $113,996.53         Tenn. Code Ann. § 8-36-111
    Retirement
    Line from Schedule A/B: 21.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 3 of 3


           Case 3:23-bk-02817                  Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                  Desc Main
                                                        Document      Page 18 of 77
Fill in this information to identify your case:

Debtor 1                   Jason Matthew Scharsch
                           First Name                      Middle Name                      Last Name

Debtor 2                   Jenifer Marie Scharsch
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             MIDDLE DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     Ally Financial                           Describe the property that secures the claim:                 $35,844.00               $23,000.00           $12,844.00
        Creditor's Name                          2020 Nissan Altima 43492 miles
                                                 VIN No.: 1N4BL4FV0LC119489
        Attn: Bankruptcy Dept
                                                 As of the date you file, the claim is: Check all that
        PO Box 380901                            apply.
        Minneapolis, MN 55438                        Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit

      Check if this claim relates to a               Other (including a right to offset)   Auto Loan
      community debt

Date debt was incurred          11/12/2022                Last 4 digits of account number        5760




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4


              Case 3:23-bk-02817                     Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                                      Desc Main
                                                                  Document      Page 19 of 77
Debtor 1 Jason Matthew Scharsch                                                                              Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Jenifer Marie Scharsch
              First Name                  Middle Name                      Last Name


2.2     IRS                                        Describe the property that secures the claim:                    $95,443.96        $0.00   $95,443.96
        Creditor's Name                            2018
        Centralized Insolvency
        Office
        P.O. Box 7346                              As of the date you file, the claim is: Check all that
                                                   apply.
        Philadelphia, PA                                Contingent
        19101-7346
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number         8708

2.3     IRS                                        Describe the property that secures the claim:                    $54,276.65        $0.00   $54,276.65
        Creditor's Name                            2019
        Centralized Insolvency
        Office
        P.O. Box 7346                              As of the date you file, the claim is: Check all that
                                                   apply.
        Philadelphia, PA                                Contingent
        19101-7346
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number         8708




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 4


             Case 3:23-bk-02817                         Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                         Desc Main
                                                                     Document      Page 20 of 77
Debtor 1 Jason Matthew Scharsch                                                                              Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Jenifer Marie Scharsch
              First Name                  Middle Name                      Last Name


2.4     Jones, Esq., Kevin J.                      Describe the property that secures the claim:                      $4,709.90       $400.00   $4,309.90
        Creditor's Name                            Grandfather Clock, Push Mower
        RE: Citizens Savings and                   (no longer has 2 trailers 1 for
        Loan                                       $600.00 the other $1,100.00, used to
        1801 8th Avenue South,                     live on)
                                                   As of the date you file, the claim is: Check all that
        Suite 100                                  apply.
        Nashville, TN 37203                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Secured Loan by Personal Items
      community debt

Date debt was incurred                                      Last 4 digits of account number         4645

2.5     Jones, Esq., Kevin J.                      Describe the property that secures the claim:                      $6,987.59       $650.00   $6,337.59
        Creditor's Name                            3 TV's, Couch, End Table
                                                   (Trailer was sold, same trailer that
                                                   was used on wife's personal
        RE: Citizens Savings and                   property list with her loan with
        Loan                                       Citizens Savings and Loans. They
        1801 8th Avenue South,                     used this money to live on.)
                                                   As of the date you file, the claim is: Check all that
        Suite 100                                  apply.
        Nashville, TN 37203                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Secured Loan by Personal Property
      community debt

Date debt was incurred                                      Last 4 digits of account number         3051




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 3 of 4


             Case 3:23-bk-02817                         Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                           Desc Main
                                                                     Document      Page 21 of 77
Debtor 1 Jason Matthew Scharsch                                                                              Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Jenifer Marie Scharsch
              First Name                  Middle Name                      Last Name


        Santander Consumer
2.6                                                                                                                 $30,228.00                 $20,000.00        $10,228.00
        USA                                        Describe the property that secures the claim:
        Creditor's Name                            2015 GMC Sierra Truck 107.005
        Attn: Bankruptcy Dept                      miles
        8585 N Stemmons Fwy                        VIN No.: 3GTU2VEJ9FG343971
                                                   As of the date you file, the claim is: Check all that
        Ste 1100-N                                 apply.
        Dallas, TX 75247                                Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Auto Loan
      community debt

Date debt was incurred          12/14/2020                  Last 4 digits of account number         1000


  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $227,490.10
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $227,490.10

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.4
           Citizens Savings and Loan
           4665 Main Street Ste 4                                                                    Last 4 digits of account number   6905
           Jasper, TN 37347




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 4 of 4


             Case 3:23-bk-02817                         Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                                             Desc Main
                                                                     Document      Page 22 of 77
Fill in this information to identify your case:

Debtor 1                   Jason Matthew Scharsch
                           First Name                      Middle Name                       Last Name

Debtor 2                   Jenifer Marie Scharsch
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          Acme Company                                            Last 4 digits of account number                                                                     Unknown
             Nonpriority Creditor's Name
             64 Beaver Street                                        When was the debt incurred?
             Suite 344
             New York, NY 10004
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                  Student loans
             debt                                                       Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 18
                                                                                                               47746
              Case 3:23-bk-02817                      Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                                             Desc Main
                                                                   Document      Page 23 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.2      Adam Hamilton                                       Last 4 digits of account number                                                      $11,000.00
         Nonpriority Creditor's Name
         2237 Naples Street                                  When was the debt incurred?
         Mora, MN 55051
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Deposit on Auto Work


4.3      Advance Financial                                   Last 4 digits of account number                                                       $7,000.00
         Nonpriority Creditor's Name
         100 Oceanside Drive                                 When was the debt incurred?
         Nashville, TN 37204
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Loan


4.4      Aldous and Associates                               Last 4 digits of account number       6999                                                 $98.00
         Nonpriority Creditor's Name
         RE: Golds Gym                                       When was the debt incurred?
         PO Box 171374
         Salt Lake City, UT 84117
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 24 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.5      American Express                                    Last 4 digits of account number       8903                                           $25,731.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                               When was the debt incurred?
         PO Box 981537
         El Paso, TX 79998
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Off


4.6      Brown Stone Apartments                              Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
                                                             When was the debt incurred?

         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
             Yes                                                Other. Specify   Case No,: 1996-CV-28229


4.7      Buffaloe & Vallejo PLC                              Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         RE: Executive Finanical Enterprise                  When was the debt incurred?
         Inc
         44 Vantage Way Ste 500
         Nashville, TN 37228
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
             Yes                                                Other. Specify   Case No.: 2022-CV-327300/Civil Warrant




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 25 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.8      Caine & Weiner Company Inc                          Last 4 digits of account number       xx83                                            $1,858.00
         Nonpriority Creditor's Name
         RE: Progressive                                     When was the debt incurred?
         5805 Sepulveda Blvd 4th Floor
         Van Nuys, CA 91411
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection


4.9      Cash Express                                        Last 4 digits of account number                                                        $600.00
         Nonpriority Creditor's Name
         345 S. Jefferson Ave., Suite 300                    When was the debt incurred?
         Cookeville, TN 38501
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Loan


4.1
0        Cash Express, LLC                                   Last 4 digits of account number                                                       $1,643.51
         Nonpriority Creditor's Name
         345 South Jefferson Avenue                          When was the debt incurred?
         Suite 300
         Cookeville, TN 38501
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Civil Warrant
             Yes                                                Other. Specify   Case No.: 2023-CV-339196




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 26 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.1
1        Catron, Esq., Kirk                                  Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         RE: Larry Cox and Les Lazarus                       When was the debt incurred?
         303 N Walnut Street
         Murfreesboro, TN 37130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
             Yes                                                Other. Specify   Circuit Court Case No.: 2020-CV-77418


4.1
2        Cheadle, Jr., Esq., John R.                         Last 4 digits of account number                                                       $8,472.08
         Nonpriority Creditor's Name
         RE: Harpeth Financial Ser LLC/Adv                   When was the debt incurred?
         Fin
         2404 Crestmoor Road
         Nashville, TN 37215
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Civil Warrant/Subpoena
             Yes                                                Other. Specify   Case No.: 2023-CV-335705


4.1
3        Check Into Cash                                     Last 4 digits of account number                                                        $500.00
         Nonpriority Creditor's Name
         1634 Middle Tennessee Blvd.                         When was the debt incurred?
         Murfreesboro, TN 37130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Loan



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 27 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.1
4        ChimeFin/Stride Bank                                Last 4 digits of account number       7154                                            $1,425.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                               When was the debt incurred?
         101 California Street, Suite 500
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
5        Comenity Bank/Jared Jewelers                        Last 4 digits of account number                                                       $3,000.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                               When was the debt incurred?
         PO Box 182789
         Columbus, OH 43218
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
6        Cornerstone Financial Credit Union                  Last 4 digits of account number       0001                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                               When was the debt incurred?
         PO Box 120729
         Nashville, TN 37212
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Foreclosure
             Yes                                                Other. Specify   2/14/2020




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 28 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.1
7        Credit Collection Services                          Last 4 digits of account number                                                        $292.94
         Nonpriority Creditor's Name
         RE: Geico Advantage Company                         When was the debt incurred?
         725 Canton Street
         Norwood, MA 02062
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Auto Insurance


4.1
8        Fox Collection Center                               Last 4 digits of account number       5113                                             $497.00
         Nonpriority Creditor's Name
         RE: A 1 Cash Advance                                When was the debt incurred?
         PO Box 528
         Goodlettsville, TN 37072
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection


4.1
9        Gammons, Esq., Barry J.                             Last 4 digits of account number                                                       $3,674.86
         Nonpriority Creditor's Name
         RE: Tennessee Quick Cash, Inc.                      When was the debt incurred?
         PO Box 330610
         Nashville, TN 37203
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Civil Warrant
             Yes                                                Other. Specify   Case No.: 2020-CV-304391




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 29 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.2      General Sessions Court of
0        Rutherford Co                                       Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         Judicial Center                                     When was the debt incurred?
         116 W Lytle Street
         Murfreesboro, TN 37130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
                                                                                 Case No.: 2022-CV-33051/Civil Warrant
                                                                                 Case No.: 1996-CV-28229
             Yes                                                Other. Specify   Case No.: 1994-CV-19167


4.2      General Sessions Court of
1        Rutherford Co                                       Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         Judicial Center                                     When was the debt incurred?
         116 W Lytle Street
         Murfreesboro, TN 37130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
                                                                                 Case No.: 2022-CV-327300/Civil Warrant
                                                                                 Case No.: 2022-CV-327879/Civil Warrant
             Yes                                                Other. Specify   Case No.: 2022-CV-324382




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 30 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.2      General Sessions Court of
2        Rutherford Co                                       Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         Judicial Center                                     When was the debt incurred?
         116 W Lytle Street
         Murfreesboro, TN 37130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
                                                                                 Case No.: 2023-CV-339196/Civil Warrant
                                                                                 Case No.: 2020-CV-304391/Civil Warrant
                                                                                 Case No.: 2023-CV-334645/Civil Warrant
                                                                                 Case No.: 2019-CV-288797/Civl Warrant
             Yes                                                Other. Specify   Case No.: 2023-CV-335705/Civil Warrant


4.2
3        Hagan, Esq., Larry H.                               Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         RE: James M. Norris                                 When was the debt incurred?
         219 2nd Avenue N 1st Floor
         Nashville, TN 37201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
             Yes                                                Other. Specify   Case Ni.: 1994-CV-19167




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 9 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 31 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.2      Heritage South Community Credit
4        Union                                               Last 4 digits of account number       0018                                             $278.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         PO Box 1219
         Shelbyville, TN 37162
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Off


4.2
5        Ingleson, Esq., John B.                             Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         RE: Charitable Remainder Unitrust                   When was the debt incurred?
         410 N Front Street
         Murfreesboro, TN 37130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
                                                                                 Detainer Warrant
             Yes                                                Other. Specify   Case No.: 324382




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 10 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 32 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.2
6        Ingleson, Esq., John B.                             Last 4 digits of account number                                                     $178,373.92
         Nonpriority Creditor's Name
         RE: Charitable Remainder Unitrust                   When was the debt incurred?
         410 North Front Street
         Murfreesboro, TN 37130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Civil Warrant
             Yes                                                Other. Specify   Case No.: 2022-CV-324382


4.2
7        Ixfinity/Comcast                                    Last 4 digits of account number                                                       $1,321.08
         Nonpriority Creditor's Name
         PO Box 2127                                         When was the debt incurred?
         Norcross, GA 30091
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Cable


4.2
8        JPMCB - Card Services                               Last 4 digits of account number       6137                                            $7,793.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         301 N Walnut St Floor 09
         Wilmington, DE 19801-3935
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Off




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 33 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.2
9        JPMCB - Card Services                               Last 4 digits of account number       2383                                           $12,756.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         301 N Walnut St Floor 09
         Wilmington, DE 19801-3935
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Off


4.3
0        McCoy, Esq., Jennifer J.                            Last 4 digits of account number                                                        $526.41
         Nonpriority Creditor's Name
         RE: Benchmark Maid                                  When was the debt incurred?
         PO Box 140450
         Nashville, TN 37214
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Civil Warrant/Garnishment
             Yes                                                Other. Specify   Case No.: 2019-CV-288797


4.3
1        Meridian Law                                        Last 4 digits of account number                                                      $30,751.79
         Nonpriority Creditor's Name
         RE: Jeff and Jami Maier                             When was the debt incurred?
         5141 Virginia Way Suite 320
         Brentwood, TN 37027
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Collection
             Yes                                                Other. Specify   Case No: 3-22-CV-00339



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 34 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.3
2        Portfolio Recovery                                  Last 4 digits of account number                                                      $18,000.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         P.O. Box 41067
         Norfolk, VA 23541
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection


4.3
3        Portfolio Recovery Associates                       Last 4 digits of account number       5837                                           $18,706.00
         Nonpriority Creditor's Name
         120 Corporate Blvd                                  When was the debt incurred?
         Suite 100
         Norfolk, VA 23502
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection


4.3      Rutherford County Circcuit Civil
4        Court                                               Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         116 W Lyle Street                                   When was the debt incurred?
         Murfreesboro, TN 37130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
             Yes                                                Other. Specify   Case No. 2020-CV-77418




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 13 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 35 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.3
5        Santander Consumer USA                              Last 4 digits of account number       1000                                           $31,475.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                               When was the debt incurred?
         8585 N Stemmons Fwy Ste 1100-N
         Dallas, TX 75247
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Repo 7/26/2023
             Yes                                                Other. Specify   2017 Cadillac Escalade


4.3      Small Business Loan Service
6        Center                                              Last 4 digits of account number                                                     $300,000.00
         Nonpriority Creditor's Name
         2 20th Street N Unit #325                           When was the debt incurred?
         Birmingham, AL 35203
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Business Loan


4.3
7        Snap Finance                                        Last 4 digits of account number                                                       $1,500.00
         Nonpriority Creditor's Name
         PO Box 26561                                        When was the debt incurred?
         Salt Lake City, UT 84126
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 14 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 36 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.3
8        Speedy/Rapid Cash                                   Last 4 digits of account number                                                       $1,300.00
         Nonpriority Creditor's Name
         3527 North Ridge Road                               When was the debt incurred?
         Wichita, KS 67205
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Loan


4.3
9        Thomas A Trent                                      Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         909 Century Court NE                                When was the debt incurred?
         Lacey, WA 98516
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Only
             Yes                                                Other. Specify   Case No.: 2022-CV-327879/Civil Warrant


4.4
0        Verizon Wireless/Southeast                          Last 4 digits of account number       0001                                            $5,400.00
         Nonpriority Creditor's Name
         PO Box 26055                                        When was the debt incurred?
         Nat'l Recovery Dept M.S.400
         Minneapolis, MN 55426
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 37 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                  Case number (if known)

4.4
1        Verizon Wireless/Southeast                          Last 4 digits of account number       0001                                             $320.00
         Nonpriority Creditor's Name
         PO Box 26055                                        When was the debt incurred?
         Nat'l Recovery Dept M.S. 400
         Minneapolis, MN 55426
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection


4.4
2        Viva Finance Inc                                    Last 4 digits of account number       9203                                            $1,342.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                               When was the debt incurred?
         1447 Peachtree St NE Suite 700
         Atlanta, GA 30309
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Loan


4.4
3        Wisetack/Hatch Bank                                 Last 4 digits of account number       0292                                            $3,155.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                               When was the debt incurred?
         460 Brannon St #78384
         San Francisco, CA 94107
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Off




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 16 of 18



           Case 3:23-bk-02817                     Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                           Document      Page 38 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                         Case number (if known)

4.4
4         Your Best Credit Union                                   Last 4 digits of account number       0002                                                   $4,115.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                    When was the debt incurred?
          26 Century Blvd
          Nashville, TN 37214
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                            Contingent
              Debtor 2 only                                            Unliquidated
              Debtor 1 and Debtor 2 only                               Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                   Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                       Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                      Other. Specify   Charge Off


4.4
5         Your Best Credit Union                                   Last 4 digits of account number       0001                                                  $15,028.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                    When was the debt incurred?
          26 Century Blvd
          Nashville, TN 37214
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                            Contingent
              Debtor 2 only                                            Unliquidated
              Debtor 1 and Debtor 2 only                               Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                   Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                       Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                      Other. Specify   Charge Off

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Golds Gym                                                    Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
1713 Old Fort Pkwy                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Murfreesboro, TN 37129
                                                             Last 4 digits of account number                    9113

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                           0.00


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 17 of 18



           Case 3:23-bk-02817                        Doc 1        Filed 08/07/23 Entered 08/07/23 13:42:58                                          Desc Main
                                                                 Document      Page 39 of 77
Debtor 1 Jason Matthew Scharsch
Debtor 2 Jenifer Marie Scharsch                                                                      Case number (if known)

                        6e.   Total Priority. Add lines 6a through 6d.                                 6e.      $                     0.00

                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.      $                     0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $              697,933.59

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $              697,933.59




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 18 of 18



           Case 3:23-bk-02817                        Doc 1        Filed 08/07/23 Entered 08/07/23 13:42:58                              Desc Main
                                                                 Document      Page 40 of 77
Fill in this information to identify your case:

Debtor 1                  Jason Matthew Scharsch
                          First Name                         Middle Name              Last Name

Debtor 2                  Jenifer Marie Scharsch
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               MIDDLE DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1


               Case 3:23-bk-02817                      Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                          Desc Main
                                                                    Document      Page 41 of 77
Fill in this information to identify your case:

Debtor 1                   Jason Matthew Scharsch
                           First Name                           Middle Name        Last Name

Debtor 2                   Jenifer Marie Scharsch
(Spouse if, filing)        First Name                           Middle Name        Last Name


United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                     Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Bounds Performance, Inc.                                                              Schedule D, line
               9665 Frankllin Rd.                                                                    Schedule E/F, line    4.1
               Murfreesboro, TN 37128
                                                                                                     Schedule G
                                                                                                   Acme Company



   3.2         Charles McCord                                                                         Schedule D, line   2.1
               2398 Highway 41A N                                                                     Schedule E/F, line
               Eagleville, TN 37060
                                                                                                      Schedule G
                                                                                                   Ally Financial




Official Form 106H                                                             Schedule H: Your Codebtors                                   Page 1 of 1

              Case 3:23-bk-02817                         Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                Desc Main
                                                                      Document      Page 42 of 77
Fill in this information to identify your case:

Debtor 1                      Jason Matthew Scharsch

Debtor 2                      Jenifer Marie Scharsch
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF TENNESSEE

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Sales
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Ford Lincoln of Murfreesboro               Tri-Star Meat, Inc

       Occupation may include student        Employer's address
                                                                   1550 NW Broad Street                       5247 Murfreesboro Road
       or homemaker, if it applies.
                                                                   Murfreesboro, TN 37129                     College Grove, TN 37086

                                             How long employed there?         1 1/2 Month

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        8,300.00      $         2,000.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      8,300.00            $   2,000.00




           Case
Official Form 106I 3:23-bk-02817                  Doc 1    Filed 08/07/23
                                                                    Schedule I:Entered    08/07/23 13:42:58
                                                                                Your Income                                      Desc Main page 1
                                                          Document      Page 43 of 77
Debtor 1   Jason Matthew Scharsch
Debtor 2   Jenifer Marie Scharsch                                                                Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      8,300.00       $         2,000.00

5.   List all payroll deductions:
     5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,577.00   $               300.00
     5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00   $                 0.00
     5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00   $                 0.00
     5d.   Required repayments of retirement fund loans                                   5d.        $          0.00   $                 0.00
     5e.   Insurance                                                                      5e.        $          0.00   $                 0.00
     5f.   Domestic support obligations                                                   5f.        $          0.00   $                 0.00
     5g.   Union dues                                                                     5g.        $          0.00   $                 0.00
     5h.   Other deductions. Specify:                                                     5h.+       $          0.00 + $                 0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,577.00       $           300.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          6,723.00       $        1,700.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,723.00 + $       1,700.00 = $            8,423.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           8,423.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtors own Tri-Star Meat and debtor 2 runs the company. The company has not paid any money to
                             date, however the debtor expects to be able to clear $2,000.00 per month by the end of the year. We
                             have shown this estimation on schedule I.
                             Debtor, Jason Scharsch, will start paying for insurance out of his income in September.




           Case
Official Form 106I 3:23-bk-02817            Doc 1       Filed 08/07/23
                                                                 Schedule I:Entered    08/07/23 13:42:58
                                                                             Your Income                                        Desc Main page 2
                                                       Document      Page 44 of 77
Fill in this information to identify your case:

Debtor 1                 Jason Matthew Scharsch                                                            Check if this is:
                                                                                                               An amended filing
Debtor 2                 Jenifer Marie Scharsch                                                                A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF TENNESSEE                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Daughter                             18 Years            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,500.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            20.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            75.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
         Case 3:23-bk-02817                      Doc 1      Filed 08/07/23 Entered 08/07/23 13:42:58                                  Desc Main
                                                           Document      Page 45 of 77
Debtor 1     Jason Matthew Scharsch
Debtor 2     Jenifer Marie Scharsch                                                                    Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                280.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                120.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                339.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               225.00
10.   Personal care products and services                                                    10. $                                                200.00
11.   Medical and dental expenses                                                            11. $                                                200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 875.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  690.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  813.18
      17b. Car payments for Vehicle 2                                                      17b. $                                                  756.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet Food/Vet Expense                                                21. +$                                                115.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       8,408.18
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,408.18
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               8,423.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,408.18

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  14.82

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
        Case 3:23-bk-02817                     Doc 1        Filed 08/07/23 Entered 08/07/23 13:42:58                                       Desc Main
                                                           Document      Page 46 of 77
Fill in this information to identify your case:

Debtor 1                    Jason Matthew Scharsch
                            First Name               Middle Name           Last Name

Debtor 2                    Jenifer Marie Scharsch
(Spouse if, filing)         First Name               Middle Name           Last Name


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Jason Matthew Scharsch                                        X   /s/ Jenifer Marie Scharsch
             Jason Matthew Scharsch                                            Jenifer Marie Scharsch
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       August 7, 2023                                         Date    August 7, 2023




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules




              Case 3:23-bk-02817              Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                         Desc Main
                                                           Document      Page 47 of 77
Fill in this information to identify your case:

Debtor 1                  Jason Matthew Scharsch
                          First Name                  Middle Name                   Last Name

Debtor 2                  Jenifer Marie Scharsch
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          MIDDLE DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $25,464.19            Wages, commissions,                      $0.00
the date you filed for bankruptcy:
                                               bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1


              Case 3:23-bk-02817                  Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                                  Desc Main
                                                             Document      Page 48 of 77
Debtor 1     Jason Matthew Scharsch
Debtor 2     Jenifer Marie Scharsch                                                                    Case number (if known)


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income                  Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.              (before deductions
                                                                                exclusions)                                                       and exclusions)

For last calendar year:                            Wages, commissions,                      $56,635.41            Wages, commissions,                   $30,050.90
(January 1 to December 31, 2022 )
                                                bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                           Operating a business

For the calendar year before that:                 Wages, commissions,                      $53,232.56            Wages, commissions,                  $108,664.07
(January 1 to December 31, 2021 )
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income                  Gross income
                                                Describe below.                 each source                    Describe below.                    (before deductions
                                                                                (before deductions and                                            and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe
      Santander Consumer USA                               7/7/23, 6/21/23                  $2,646.08          $30,228.00              Mortgage
      Attn: Bankruptcy Dept                                6/8/23, 5/26/23,                                                            Car
      8585 N Stemmons Fwy Ste 1100-N                       5/12/23, 5/5/23
                                                                                                                                       Credit Card
      Dallas, TX 75247
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2


           Case 3:23-bk-02817                     Doc 1        Filed 08/07/23 Entered 08/07/23 13:42:58                                     Desc Main
                                                              Document      Page 49 of 77
Debtor 1     Jason Matthew Scharsch
Debtor 2     Jenifer Marie Scharsch                                                                Case number (if known)


      Creditor's Name and Address                      Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                             paid            still owe
      Ally Financial                                   7/1/23, 7/7/23,                  $2,273.53          $35,844.00         Mortgage
      Attn: Bankruptcy Dept                            6/9/23,                                                                Car
      PO Box 380901
                                                                                                                              Credit Card
      Minneapolis, MN 55438
                                                                                                                              Loan Repayment
                                                                                                                              Suppliers or vendors
                                                                                                                              Other


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                       Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                             paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                       Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                             paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                       Nature of the case           Court or agency                         Status of the case
      Case number
      Harpeth Financial Services,                      Civil Warrant                General Sessions Court of                  Pending
      LLC/Advance Financial vs Jenifer                                              Rutherford Co                              On appeal
      M. Bounds Scharsch                                                            Judicial Center
                                                                                                                               Concluded
      2023-CV-335705                                                                116 W Lytle Street
                                                                                    Murfreesboro, TN 37130

      Citizens Savings & Loan vs. Jenifer              Civil Warrant                General Sessions Court of                  Pending
      Scharsch                                                                      Rutherford Co                              On appeal
      2023-CV-334645                                                                Judicial Center
                                                                                                                               Concluded
                                                                                    116 W Lytle Street
                                                                                    Murfreesboro, TN 37130

      Cash Express LLC vs Jenifer                      Civil Warrant                General Sessions Court of                  Pending
      Scharsch                                                                      Rutherford Co                              On appeal
      2023-CV-339196                                                                Judicial Center
                                                                                                                               Concluded
                                                                                    116 W Lytle Street
                                                                                    Murfreesboro, TN 37130




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3


           Case 3:23-bk-02817                 Doc 1        Filed 08/07/23 Entered 08/07/23 13:42:58                                 Desc Main
                                                          Document      Page 50 of 77
Debtor 1     Jason Matthew Scharsch
Debtor 2     Jenifer Marie Scharsch                                                                      Case number (if known)


      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number
      Executive Finanical Enterprise Inc.                    Civil Warrant                General Sessions Ct of                        Pending
      vs Bounds Performance                                                               Rutherford County                             On appeal
      Inc/Swamps Motorsports R/A                                                          303 Judicial Bldg                             Concluded
      Jenifer M Scharsch                                                                  Murfreesboro, TN 37127
      2022-CV-327300

      Thomas A Trent vs Bounds                               Civil Warrant                General Sessions Court of                     Pending
      Unlimited Inc R/A Jeniofer M                                                        Rutherford Co                                 On appeal
      Scharsch                                                                            Judicial Center                               Concluded
      2022-CV-327879                                                                      116 W Lytle Street
                                                                                          Murfreesboro, TN 37130


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened
      Santander Consumer USA                                 2017 Cadillac Escalade                                         7/26/2023                         $0.00
      Attn: Bankruptcy Dept
      8585 N Stemmons Fwy Ste 1100-N                             Property was repossessed.
      Dallas, TX 75247                                           Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                         Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4


           Case 3:23-bk-02817                        Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                                   Desc Main
                                                                Document      Page 51 of 77
Debtor 1     Jason Matthew Scharsch
Debtor 2     Jenifer Marie Scharsch                                                              Case number (if known)


Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and         Describe any insurance coverage for the loss                       Date of your          Value of property
      how the loss occurred                                                                                         loss                               lost
                                                 Include the amount that insurance has paid. List pending
                                                 insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment                Amount of
      Address                                              transferred                                              or transfer was              payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      CC Advising, Inc.                                    Debt Counseling before filing.                           7/31/23                        $19.98
      703 Washington Ave.
      Suite 200
      Bay City, MI 48708


      The Law Office of Galen Pierce                       Attorney Fees                                            8/3/23                        $441.00
      307 Hickerson Drive
      Murfreesboro, TN 37129
      galen@galenpiercelaw.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment                Amount of
      Address                                              transferred                                              or transfer was              payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or           Date transfer was
      Address                                              property transferred                       payments received or debts         made
                                                                                                      paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                        Description and value of the property transferred                             Date Transfer was
                                                                                                                                         made


Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5


           Case 3:23-bk-02817                Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                                     Desc Main
                                                        Document      Page 52 of 77
Debtor 1      Jason Matthew Scharsch
Debtor 2      Jenifer Marie Scharsch                                                                          Case number (if known)


Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or           Date account was           Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                   closed, sold,          before closing or
      Code)                                                                                                              moved, or                       transfer
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?                 Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access                 Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                        have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                     Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you       Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6


           Case 3:23-bk-02817                        Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                                    Desc Main
                                                                Document      Page 53 of 77
Debtor 1     Jason Matthew Scharsch
Debtor 2     Jenifer Marie Scharsch                                                                          Case number (if known)


25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                                Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and      know it
                                                                  ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                  Court or agency                            Nature of the case                   Status of the
      Case Number                                                 Name                                                                            case
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                    Employer Identification number
      Address                                                                                                     Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                  Dates business existed
      Bounds Performance Inc                               Automotive Shop                                        EIN:       XX-XXXXXXX
      920 Esther Lane
      Murfreesboro, TN 37129                               Elizabeth Royalty                                      From-To    3/1/2019 to 7/2022

      Bounds Unlimited Inc.                                Automotive Shop                                        EIN:       XX-XXXXXXX
      920 Ester Lane
      Murfreesboro, TN 37129                               Elizabeth Royalty                                      From-To    11/2021 to 7/2022

      Tri Star Meats, Inc.                                 Custom Butcher                                         EIN:       XX-XXXXXXX
      5247 Murfreesboro Rd.                                owned by debtor 1 only
      College Grove, TN 37046                                                                                     From-To    7/2022 - Current
                                                           self


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7


           Case 3:23-bk-02817                      Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                                     Desc Main
                                                              Document      Page 54 of 77
Debtor 1     Jason Matthew Scharsch
Debtor 2     Jenifer Marie Scharsch                                                           Case number (if known)


Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Jason Matthew Scharsch                                  /s/ Jenifer Marie Scharsch
Jason Matthew Scharsch                                      Jenifer Marie Scharsch
Signature of Debtor 1                                       Signature of Debtor 2

Date     August 7, 2023                                     Date     August 7, 2023

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 8


           Case 3:23-bk-02817             Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                               Desc Main
                                                     Document      Page 55 of 77
Fill in this information to identify your case:

Debtor 1                    Jason Matthew Scharsch
                            First Name               Middle Name             Last Name

Debtor 2                    Jenifer Marie Scharsch
(Spouse if, filing)         First Name               Middle Name             Last Name


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                               Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



   Creditor's         Ally Financial                                Surrender the property.                            No
   name:                                                            Retain the property and redeem it.
                                                                    Retain the property and enter into a               Yes
   Description of        2020 Nissan Altima 43492 miles             Reaffirmation Agreement.
   property              VIN No.: 1N4BL4FV0LC119489                 Retain the property and [explain]:
   securing debt:



   Creditor's         IRS                                           Surrender the property.                            No
   name:                                                            Retain the property and redeem it.
                                                                    Retain the property and enter into a               Yes
   Description of        2018                                       Reaffirmation Agreement.
   property                                                         Retain the property and [explain]:
   securing debt:                                                  Retain and Pay


   Creditor's         IRS                                           Surrender the property.                            No
   name:                                                            Retain the property and redeem it.
                                                                    Retain the property and enter into a               Yes
   Description of        2019                                       Reaffirmation Agreement.
   property                                                         Retain the property and [explain]:

Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                   page 1




              Case 3:23-bk-02817              Doc 1         Filed 08/07/23 Entered 08/07/23 13:42:58                     Desc Main
                                                           Document      Page 56 of 77
Debtor 1      Jason Matthew Scharsch
Debtor 2      Jenifer Marie Scharsch                                                       Case number (if known)


    securing debt:                                             Retain and Pay


    Creditor's   Santander Consumer USA                          Surrender the property.                                     No
    name:                                                        Retain the property and redeem it.
                                                                 Retain the property and enter into a                        Yes
    Description of 2015 GMC Sierra Truck 107.005                 Reaffirmation Agreement.
    property       miles                                         Retain the property and [explain]:
    securing debt: VIN No.: 3GTU2VEJ9FG343971

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Jason Matthew Scharsch                                         X /s/ Jenifer Marie Scharsch
      Jason Matthew Scharsch                                                 Jenifer Marie Scharsch
      Signature of Debtor 1                                                  Signature of Debtor 2

      Date       August 7, 2023                                          Date     August 7, 2023


Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 2




           Case 3:23-bk-02817              Doc 1      Filed 08/07/23 Entered 08/07/23 13:42:58                                Desc Main
                                                     Document      Page 57 of 77
Debtor 1    Jason Matthew Scharsch
Debtor 2    Jenifer Marie Scharsch                                                Case number (if known)




Official Form 108                    Statement of Intention for Individuals Filing Under Chapter 7                     page 3




           Case 3:23-bk-02817        Doc 1    Filed 08/07/23 Entered 08/07/23 13:42:58                     Desc Main
                                             Document      Page 58 of 77
Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                  122A-1Supp:
Debtor 1              Jason Matthew Scharsch
Debtor 2              Jenifer Marie Scharsch                                                              1. There is no presumption of abuse
(Spouse, if filing)
                                                                                                          2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the:        Middle District of Tennessee
                                                                                                              applies will be made under Chapter 7 Means Test
                                                                                                              Calculation (Official Form 122A-2).
Case number
(if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                              qualified military service but it could apply later.
                                                                                                          Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                   Column B
                                                                                                      Debtor 1                   Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                        $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                        $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                        $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
       Gross receipts (before all deductions)                         $
       Ordinary and necessary operating expenses                     -$
       Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                Debtor 1
       Gross receipts (before all deductions)                         $
       Ordinary and necessary operating expenses                     -$
       Net monthly income from rental or other real property         $               Copy here -> $                              $
                                                                                                      $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                Chapter 7 Statement of Your Current Monthly Income                                                         page 1

              Case 3:23-bk-02817                  Doc 1      Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                            Document      Page 59 of 77
Debtor 1     Jason Matthew Scharsch
Debtor 2     Jenifer Marie Scharsch                                                                 Case number (if known)



                                                                                                Column A                     Column B
                                                                                                Debtor 1                     Debtor 2 or
                                                                                                                             non-filing spouse
  8. Unemployment compensation                                                           $                                   $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
           For your spouse                                     $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                              $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
               .                                                                              $                              $
                                                                                                $                            $
                Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.           $                        +$                      =$

                                                                                                                                              Total current monthly
                                                                                                                                              income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>             $


             Multiply by 12 (the number of months in a year)                                                                                   x 12
      12b. The result is your annual income for this part of the form                                                              12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
      Fill in the state in which you live.

      Fill in the number of people in your household.

      Fill in the median family income for your state and size of household.                                                       13.    $
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Jason Matthew Scharsch                                          X /s/ Jenifer Marie Scharsch
               Jason Matthew Scharsch                                                Jenifer Marie Scharsch
               Signature of Debtor 1                                                 Signature of Debtor 2

Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                         page 2


            Case 3:23-bk-02817                 Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                                      Desc Main
                                                          Document      Page 60 of 77
Debtor 1   Jason Matthew Scharsch
Debtor 2   Jenifer Marie Scharsch                                                            Case number (if known)

       Date August 7, 2023                                                      Date August 7, 2023
            MM / DD / YYYY                                                           MM / DD / YYYY
           If you checked line 14a, do NOT fill out or file Form 122A-2.
           If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                              page 3


           Case 3:23-bk-02817                  Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                   Desc Main
                                                          Document      Page 61 of 77
Fill in this information to identify your case:

Debtor 1            Jason Matthew Scharsch

Debtor 2           Jenifer Marie Scharsch
(Spouse, if filing)

United States Bankruptcy Court for the:      Middle District of Tennessee

Case number                                                                                      Check if this is an amended filing
(if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                   12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

Part 1:         Identify the Kind of Debts You Have

 1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
    personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
    Individuals Filing for Bankruptcy (Official Form 1).

          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
              supplement with the signed Form 122A-1.
          Yes. Go to Part 2.


Part 2:         Determine Whether Military Service Provisions Apply to You

 2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No. Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                 No.    Go to line 3.
                 Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                        submit this supplement with the signed Form 122A-1.

 3. Are you or have you been a Reservist or member of the National Guard?
          No.     Complete Form 122A-1. Do not submit this supplement.
          Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                 No.    Complete Form 122A-1. Do not submit this supplement.
                 Yes.   Check any one of the following categories that applies:
                                                                                           If you checked one of the categories to the left, go to Form
                        I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                        90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                           submit this supplement with the signed Form 122A-1. You
                        I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                        90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                        which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                           homeland defense activity, and for 540 days afterward. 11
                        I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                        I performed a homeland defense activity for at least 90 days,
                                                                                              If your exclusion period ends before your case is closed,
                        ending on                  , which is fewer than 540 days before I
                        file this bankruptcy case.                                            you may have to file an amended form later.




Official Form 122A-1Supp                 Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1


           Case 3:23-bk-02817                  Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                             Desc Main
                                                          Document      Page 62 of 77
Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                  122A-1Supp:
Debtor 1              Jason Matthew Scharsch
Debtor 2              Jenifer Marie Scharsch                                                              1. There is no presumption of abuse
(Spouse, if filing)
                                                                                                          2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the:        Middle District of Tennessee
                                                                                                              applies will be made under Chapter 7 Means Test
                                                                                                              Calculation (Official Form 122A-2).
Case number
(if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                              qualified military service but it could apply later.
                                                                                                          Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                   Column B
                                                                                                      Debtor 1                   Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                        $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                        $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                        $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
       Gross receipts (before all deductions)                         $
       Ordinary and necessary operating expenses                     -$
       Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                Debtor 1
       Gross receipts (before all deductions)                         $
       Ordinary and necessary operating expenses                     -$
       Net monthly income from rental or other real property         $               Copy here -> $                              $
                                                                                                      $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                Chapter 7 Statement of Your Current Monthly Income                                                         page 1

              Case 3:23-bk-02817                  Doc 1      Filed 08/07/23 Entered 08/07/23 13:42:58                                        Desc Main
                                                            Document      Page 63 of 77
Debtor 1     Jason Matthew Scharsch
Debtor 2     Jenifer Marie Scharsch                                                                 Case number (if known)



                                                                                                Column A                     Column B
                                                                                                Debtor 1                     Debtor 2 or
                                                                                                                             non-filing spouse
  8. Unemployment compensation                                                           $                                   $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
           For your spouse                                     $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                              $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
               .                                                                              $                              $
                                                                                                $                            $
                Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.           $                        +$                      =$

                                                                                                                                              Total current monthly
                                                                                                                                              income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>             $


             Multiply by 12 (the number of months in a year)                                                                                   x 12
      12b. The result is your annual income for this part of the form                                                              12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
      Fill in the state in which you live.

      Fill in the number of people in your household.

      Fill in the median family income for your state and size of household.                                                       13.    $
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Jason Matthew Scharsch                                          X /s/ Jenifer Marie Scharsch
               Jason Matthew Scharsch                                                Jenifer Marie Scharsch
               Signature of Debtor 1                                                 Signature of Debtor 2

Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                         page 2


            Case 3:23-bk-02817                 Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                                      Desc Main
                                                          Document      Page 64 of 77
Debtor 1   Jason Matthew Scharsch
Debtor 2   Jenifer Marie Scharsch                                                            Case number (if known)

       Date August 7, 2023                                                      Date August 7, 2023
            MM / DD / YYYY                                                           MM / DD / YYYY
           If you checked line 14a, do NOT fill out or file Form 122A-2.
           If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                              page 3


           Case 3:23-bk-02817                  Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                   Desc Main
                                                          Document      Page 65 of 77
Fill in this information to identify your case:

Debtor 1            Jason Matthew Scharsch

Debtor 2           Jenifer Marie Scharsch
(Spouse, if filing)

United States Bankruptcy Court for the:      Middle District of Tennessee

Case number                                                                                      Check if this is an amended filing
(if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                   12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

Part 1:         Identify the Kind of Debts You Have

 1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
    personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
    Individuals Filing for Bankruptcy (Official Form 1).

          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
              supplement with the signed Form 122A-1.
          Yes. Go to Part 2.


Part 2:         Determine Whether Military Service Provisions Apply to You

 2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No. Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                 No.    Go to line 3.
                 Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                        submit this supplement with the signed Form 122A-1.

 3. Are you or have you been a Reservist or member of the National Guard?
          No.     Complete Form 122A-1. Do not submit this supplement.
          Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                 No.    Complete Form 122A-1. Do not submit this supplement.
                 Yes.   Check any one of the following categories that applies:
                                                                                           If you checked one of the categories to the left, go to Form
                        I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                        90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                           submit this supplement with the signed Form 122A-1. You
                        I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                        90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                        which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                           homeland defense activity, and for 540 days afterward. 11
                        I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                        I performed a homeland defense activity for at least 90 days,
                                                                                              If your exclusion period ends before your case is closed,
                        ending on                  , which is fewer than 540 days before I
                        file this bankruptcy case.                                            you may have to file an amended form later.




Official Form 122A-1Supp                 Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1


           Case 3:23-bk-02817                  Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                             Desc Main
                                                          Document      Page 66 of 77
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1


          Case 3:23-bk-02817                   Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                        Desc Main
                                                          Document      Page 67 of 77
       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2


          Case 3:23-bk-02817                   Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                            Desc Main
                                                          Document      Page 68 of 77
       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3


          Case 3:23-bk-02817                   Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                           Desc Main
                                                          Document      Page 69 of 77
                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4


          Case 3:23-bk-02817                   Doc 1       Filed 08/07/23 Entered 08/07/23 13:42:58                           Desc Main
                                                          Document      Page 70 of 77
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Middle District of Tennessee
             Jason Matthew Scharsch
 In re       Jenifer Marie Scharsch                                                                           Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     985.00
             Prior to the filing of this statement I have received                                        $                     441.00
             Balance Due                                                                                  $                     544.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 7, 2023                                                           /s/ Galen W. Pierce
     Date                                                                     Galen W. Pierce
                                                                              Signature of Attorney
                                                                              The Law Office of Galen Pierce
                                                                              307 Hickerson Drive
                                                                              Murfreesboro, TN 37129
                                                                              615-895-6508 Fax: 615-514-9605
                                                                              galen@galenpiercelaw.com
                                                                              Name of law firm




            Case 3:23-bk-02817                 Doc 1        Filed 08/07/23 Entered 08/07/23 13:42:58                              Desc Main
                                                           Document      Page 71 of 77
                                              United States Bankruptcy Court
                                                    Middle District of Tennessee
         Jason Matthew Scharsch
 In re   Jenifer Marie Scharsch                                                                Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: August 7, 2023                                   /s/ Jason Matthew Scharsch
                                                       Jason Matthew Scharsch
                                                       Signature of Debtor

Date: August 7, 2023                                   /s/ Jenifer Marie Scharsch
                                                       Jenifer Marie Scharsch
                                                       Signature of Debtor




         Case 3:23-bk-02817             Doc 1     Filed 08/07/23 Entered 08/07/23 13:42:58                       Desc Main
                                                 Document      Page 72 of 77
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                         JASON MATTHEW SCHARSCH
                         9665 FRANKLIN ROAD
                         MURFREESBORO TN 37128

                         JENIFER MARIE SCHARSCH
                         9665 FRANKLIN ROAD
                         MURFREESBORO TN 37128

                         GALEN W. PIERCE
                         THE LAW OFFICE OF GALEN PIERCE
                         307 HICKERSON DRIVE
                         MURFREESBORO, TN 37129

                         ACME COMPANY
                         64 BEAVER STREET
                         SUITE 344
                         NEW YORK NY 10004

                         ADAM HAMILTON
                         2237 NAPLES STREET
                         MORA MN 55051

                         ADVANCE FINANCIAL
                         100 OCEANSIDE DRIVE
                         NASHVILLE TN 37204

                         ALDOUS AND ASSOCIATES
                         RE: GOLDS GYM
                         PO BOX 171374
                         SALT LAKE CITY UT 84117

                         ALLY FINANCIAL
                         ATTN: BANKRUPTCY DEPT
                         PO BOX 380901
                         MINNEAPOLIS MN 55438

                         AMERICAN EXPRESS
                         ATTN: BANKRUPTCY DEPT
                         PO BOX 981537
                         EL PASO TX 79998

                         BOUNDS PERFORMANCE, INC.
                         9665 FRANKLLIN RD.
                         MURFREESBORO TN 37128

                         BROWN STONE APARTMENTS


                         BUFFALOE & VALLEJO PLC
                         RE: EXECUTIVE FINANICAL ENTERPRISE INC
                         44 VANTAGE WAY STE 500
                         NASHVILLE TN 37228




    Case 3:23-bk-02817   Doc 1    Filed 08/07/23 Entered 08/07/23 13:42:58   Desc Main
                                 Document      Page 73 of 77
                     CAINE & WEINER COMPANY INC
                     RE: PROGRESSIVE
                     5805 SEPULVEDA BLVD 4TH FLOOR
                     VAN NUYS CA 91411

                     CASH EXPRESS
                     345 S. JEFFERSON AVE., SUITE 300
                     COOKEVILLE TN 38501

                     CASH EXPRESS, LLC
                     345 SOUTH JEFFERSON AVENUE
                     SUITE 300
                     COOKEVILLE TN 38501

                     CATRON, ESQ., KIRK
                     RE: LARRY COX AND LES LAZARUS
                     303 N WALNUT STREET
                     MURFREESBORO TN 37130

                     CHARLES MCCORD
                     2398 HIGHWAY 41A N
                     EAGLEVILLE TN 37060

                     CHEADLE, JR., ESQ., JOHN R.
                     RE: HARPETH FINANCIAL SER LLC/ADV FIN
                     2404 CRESTMOOR ROAD
                     NASHVILLE TN 37215

                     CHECK INTO CASH
                     1634 MIDDLE TENNESSEE BLVD.
                     MURFREESBORO TN 37130

                     CHIMEFIN/STRIDE BANK
                     ATTN: BANKRUPTCY DEPT
                     101 CALIFORNIA STREET, SUITE 500
                     SAN FRANCISCO CA 94108

                     CITIZENS SAVINGS AND LOAN
                     4665 MAIN STREET STE 4
                     JASPER TN 37347

                     COMENITY BANK/JARED JEWELERS
                     ATTN: BANKRUPTCY DEPT
                     PO BOX 182789
                     COLUMBUS OH 43218

                     CORNERSTONE FINANCIAL CREDIT UNION
                     ATTN: BANKRUPTCY DEPT
                     PO BOX 120729
                     NASHVILLE TN 37212

                     CREDIT COLLECTION SERVICES
                     RE: GEICO ADVANTAGE COMPANY
                     725 CANTON STREET
                     NORWOOD MA 02062

Case 3:23-bk-02817   Doc 1    Filed 08/07/23 Entered 08/07/23 13:42:58   Desc Main
                             Document      Page 74 of 77
                     FOX COLLECTION CENTER
                     RE: A 1 CASH ADVANCE
                     PO BOX 528
                     GOODLETTSVILLE TN 37072

                     GAMMONS, ESQ., BARRY J.
                     RE: TENNESSEE QUICK CASH, INC.
                     PO BOX 330610
                     NASHVILLE TN 37203

                     GENERAL SESSIONS COURT OF RUTHERFORD CO
                     JUDICIAL CENTER
                     116 W LYTLE STREET
                     MURFREESBORO TN 37130

                     GOLDS GYM
                     1713 OLD FORT PKWY
                     MURFREESBORO TN 37129

                     HAGAN, ESQ., LARRY H.
                     RE: JAMES M. NORRIS
                     219 2ND AVENUE N 1ST FLOOR
                     NASHVILLE TN 37201

                     HERITAGE SOUTH COMMUNITY CREDIT UNION
                     ATTN: BANKRUPTCY
                     PO BOX 1219
                     SHELBYVILLE TN 37162

                     INGLESON, ESQ., JOHN B.
                     RE: CHARITABLE REMAINDER UNITRUST
                     410 N FRONT STREET
                     MURFREESBORO TN 37130

                     INGLESON, ESQ., JOHN B.
                     RE: CHARITABLE REMAINDER UNITRUST
                     410 NORTH FRONT STREET
                     MURFREESBORO TN 37130

                     IRS
                     CENTRALIZED INSOLVENCY OFFICE
                     P.O. BOX 7346
                     PHILADELPHIA PA 19101-7346

                     IXFINITY/COMCAST
                     PO BOX 2127
                     NORCROSS GA 30091

                     JONES, ESQ., KEVIN J.
                     RE: CITIZENS SAVINGS AND LOAN
                     1801 8TH AVENUE SOUTH, SUITE 100
                     NASHVILLE TN 37203




Case 3:23-bk-02817   Doc 1    Filed 08/07/23 Entered 08/07/23 13:42:58   Desc Main
                             Document      Page 75 of 77
                     JPMCB - CARD SERVICES
                     ATTN: BANKRUPTCY
                     301 N WALNUT ST FLOOR 09
                     WILMINGTON DE 19801-3935

                     MCCOY, ESQ., JENNIFER J.
                     RE: BENCHMARK MAID
                     PO BOX 140450
                     NASHVILLE TN 37214

                     MERIDIAN LAW
                     RE: JEFF AND JAMI MAIER
                     5141 VIRGINIA WAY SUITE 320
                     BRENTWOOD TN 37027

                     PORTFOLIO RECOVERY
                     ATTN: BANKRUPTCY
                     P.O. BOX 41067
                     NORFOLK VA 23541

                     PORTFOLIO RECOVERY ASSOCIATES
                     120 CORPORATE BLVD
                     SUITE 100
                     NORFOLK VA 23502

                     RUTHERFORD COUNTY CIRCCUIT CIVIL COURT
                     116 W LYLE STREET
                     MURFREESBORO TN 37130

                     SANTANDER CONSUMER USA
                     ATTN: BANKRUPTCY DEPT
                     8585 N STEMMONS FWY STE 1100-N
                     DALLAS TX 75247

                     SMALL BUSINESS LOAN SERVICE CENTER
                     2 20TH STREET N UNIT #325
                     BIRMINGHAM AL 35203

                     SNAP FINANCE
                     PO BOX 26561
                     SALT LAKE CITY UT 84126

                     SPEEDY/RAPID CASH
                     3527 NORTH RIDGE ROAD
                     WICHITA KS 67205

                     THOMAS A TRENT
                     909 CENTURY COURT NE
                     LACEY WA 98516

                     VERIZON WIRELESS/SOUTHEAST
                     PO BOX 26055
                     NAT'L RECOVERY DEPT M.S.400
                     MINNEAPOLIS MN 55426


Case 3:23-bk-02817   Doc 1    Filed 08/07/23 Entered 08/07/23 13:42:58   Desc Main
                             Document      Page 76 of 77
                     VERIZON WIRELESS/SOUTHEAST
                     PO BOX 26055
                     NAT'L RECOVERY DEPT M.S. 400
                     MINNEAPOLIS MN 55426

                     VIVA FINANCE INC
                     ATTN: BANKRUPTCY DEPT
                     1447 PEACHTREE ST NE SUITE 700
                     ATLANTA GA 30309

                     WISETACK/HATCH BANK
                     ATTN: BANKRUPTCY DEPT
                     460 BRANNON ST #78384
                     SAN FRANCISCO CA 94107

                     YOUR BEST CREDIT UNION
                     ATTN: BANKRUPTCY DEPT
                     26 CENTURY BLVD
                     NASHVILLE TN 37214




Case 3:23-bk-02817   Doc 1    Filed 08/07/23 Entered 08/07/23 13:42:58   Desc Main
                             Document      Page 77 of 77
